






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





NO. 03-06-00101-CV





In re Level 3 Communications, Inc. and Level 3 Communications, LLC








ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N


	Relators Level 3 Communications, Inc., and Level 3 Communications, LLC, filed this
petition for writ of mandamus.  We deny the petition for writ of mandamus. 



					                                                                                    

					Bob Pemberton, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Filed:   March 20, 2006


